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( ) ONTYOLINOW DINOWLOSTS ( +) UNO Yd NO CHSVITaa INVONAAGaG

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( )dNOd LNaASaad NO CSNNILLNOO INVONGAdd ( =) ONTYVSH GEAIVM LIad

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( )TVASNA OL NOLLOW §.LAO9 ‘LSaWaV JO FLV ONTYV aH TVLLINI
( )YEeHLO
( ) Gad NOLLVWHOANI TYNIATYD ‘SONIGAIOONd
( ) Gad ‘deLAOgX LNSAWLOIGNI 40 WAAIVM AWVNIAI19 ad
( )TWRMLaYd ( 1) NOLLVGOUd ‘NOLLVIOLA ASVI1sae GASIAWAdNS NO TVILINI
( ) MAHLO ( ) SNOLLOW ( )NOLLNSLSG ( ) AYWNOIAITSad ‘SONIGAIIOUd
( ) Wad ALTIND/INSWNDIVENVa (=~) LNSWNDIVEV (/) TVILINI dO AdAL
( °)1aS LON GNO@ ) GELVUSOWVONI LNVONSdaad «(~~ =) GNO@ NO INVGNdAIad ‘SOLVLS TIVE
( ) WALFTAdAALNI
( ) GATAFIONVYVIddy SJOUFAIVM (= ) INSSHad LON INVONEAEC
‘(_) THSNNOO LAOHLIIM, INVONaAdd = (/*) TESNNOD-HLIM INVONIAC
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NOISIAIC GNOWHOTE ‘VA dO LOPALSIC NYALSVF ‘LUNOD LOMALSIa ‘SA — SONIGHIDOUd TYNUATHO
